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CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that on the 20" day of August, 2009, I caused a copy of the
Draft Order of Witnesses and Estimated Time of Direct Examination of Zurich Insurance
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